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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 BRANDI BOROUGERDI,

                Plaintiff,

 v.                                             Civil Action No. 4:19-CV-403-O

 UNITED STATES OF AMERICA,

                Defendant.

                        CERTIFICATE OF INTERESTED PERSONS

         I, Mary M. (Marti) Cherry, counsel for Defendant United States of America, do

hereby certify, pursuant to Local Rule 7.4 of the Northern District of Texas, that, other

than Plaintiff Brandi Borougerdi and her attorneys, I am currently unaware of any person,

organization, or other legal entity with a financial interest in the outcome of this case.




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Dated: August 6, 2019

                                              Respectfully Submitted,

                                              ERIN NEALY COX
                                              UNITED STATES ATTORNEY

                                              /s/ Mary M. (Marti) Cherry
                                              Mary M. (Marti) Cherry
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                                              Attorney for Defendant



                             CERTIFICATE OF SERVICE

I hereby certify that on this 6th day of August 2019 a true and correct copy of the

foregoing was electronically filed and served on the parties via the Court’s CM/ECF

system.



                                              /s/ Mary M. (Marti) Cherry
                                              Mary M. (Marti) Cherry
                                              Assistant United States Attorney




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